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Joan M. Petty CASE:
1525 Lake Clay Dr. (Racketeer Influenced Corrupt Organizatien }
Lake Placid, Florida 33852 U.S.C. 18 —28 (See. 1332
Phone: 863-699-5422

Plaintiff

Vs | mndDE /657

Merck & Company Inc. a foreign Corporation
And

Raymond V. Gilmartin, CEO

Merck & Company, Inc.

One Merck Drive

Whitehouse Station, NJ. 08889

And

Richard T Clark, CEO Chief Executive Officer
Merck & Company, Inc.

One Merck Drive

Whithouse Station, NJ. 08889

 

 

And

Strike John Doe

(Do Not Deleat any or All)
including Jane Doe

Defendants

MOTION TO AMEND AND STRIKE JOHN DOE FROM THE ORIGINAL
COMPLAINT PURSUANT TO TITLE 18 AND 28 UNITED STATES CODE,
SECTION 1961-1968 -1970

Comes now, the Plaintiff, Joan M. Petty, pro se’ Motion the Court to Amend and Strike
John Doe from the Original Complaint and add Raymond V. Gilmartin and
Richard T. Clark, Defendants and as persons who did commit two or more criminal

Act as RICO with Merck and Company, Inc. a foreign Corporation .
1.

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The alleged unlawful conduct by the Defendants, Raymond V.Gilmartin and

Richard T. Clark and Merck and Company Inc. is in violation of Title 18-and 28

United States Code Sections 1962 (a), (b), (c) and or (d) and Florida Statutes

Sections 772, 101 (1), (2), (3) and on going criminal acts performed or part o and

ongoing criminal organization RICO was enacted by section 901 (a) of the

Organized Crime Control Act of 1970 91 — 452 84 Stat. 922 Codified as Chapter

96 of Title 18 U.S.C. § 1961 through 1968.

A.

A.

Raymond V. Gilmartin, CEO, in 1999 was the person over the Merck
Corporation and had knowledge of any and all production/manufacturing.
His operation was to satisfy the Board Members and the Stockholders.
Defendant Raymond V Gilmartin did.so by conspiring to create a “ CASH

COW?” that would make Billions of dollars in profits and lead thousands of
people to death or life time injury.

The creation of a super Pain Killer, and pay $600,000. Dollars to advertise it
as the first non-narcotic Pain Killer ever and not habit forming and would
not have any labels that informed the public that it could or would cause
Heart damage and Strokes. But only suggest that could cause stomach upset.
When studies were done the people who did the studies and investigated the
Pain Killer, were told to keep their mouth shut. and when it was brought to
the FDA Commissioner she was only given part of the facts of the reports.
This drug was WHITE WASHED and kept out of the BLACK BOX on
purpose knowingly and willingly Raymond V. Gilmartin, Defendant did on
purpose put Profits over People’s lives. DOCUMENTED
DEATHS 55,000 IN THE UNITED STATES, AND 149,000 LIFE

THREATENING INJURIES.

B.

2. Raymond V Gilmartin, retired suddenly, he was awarded Company Stocks
as a reward for his Well Done Job. ATTACHED EXHIBIT

Public Record: 1 of 3 PG. New York Times, Associated Press Gerald
Herbert.

Defendant, Raymond V. Gilmartin, was the person who reviewed the Stock
reports and had knowledge that the Pain Killer was increasing rapidly due to
the extreme and vigorous training the salespeople EXHIBIT BB Pg3.
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Cc.

3. Raymond V. Gilmartin, Defendant who conspired with Defendant
Richard T Clerk to keep the pain killer on the market knowingly that it was
killing the users and the ones who survived could take the REMEDY pills
created to sustain and cover the damages already caused. These remedies are
Zocor, Cozar and Novase along with others brought to the market. If the
killer Pill did not kill you then you could take the REMEDY pills to sustain
what life you have left.

Either way the Corporation would get paid by the victims. .

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4,

Raymond V. Gilmanton, Defendant and Richard T. Clark and others
thought he was free from prosecution because the FDA approved the
Pain Killer Drug. Defendant created the FDA commissioner as Victim of
Circumstance and used the COLAR OF LAW to hide behind her
skirts. By hiding the truth about the Killer Pill and all it’s remedies is

FRAUD. Defined under Florida Statutes Chapter 817

A The Public and the Physicians began to bring attention to the
Directors, and the Corporation Merck and Company, about the Pain
Killer Pill, it became such a over-welling of complaints and lawsuits that
many of the Attorney’s and Government people were paid a bribery to
look the other way or loose the case or use all the dirty tricks that Merck
and their attorneys could think of to keep from paying for the damages
they have done to the public. . Congressional hearings were conducted
and the real evidence was kept hidden for 5 years while more and more
people was killed and injured.

B Merck and Company and Defendants, Raymond V. Gilmartin and
Richard T. Clark threatened the public by claiming that any cases would
be filed against Merck would be done in a Trial by Jury and that it would
take years for them to pay off the damages. So any case that Merck
should loose goes to Appeal and the damaged person receives nothing for
the death or injury, while the appeals process goes on forever or till the
person is dead. This gave the appearance that it would discourage the
public from filing anymore suites giving Merck an opportunity to collect
more profits and hold the suits in limbo.

Merck and Company needed and wanted to control the predicated act so
they could claim the Fading the public and circumstances was a mistake
and shall be forgiven because they were only acting in good faith.

Not So, There is no good faith here when you allow 55,000 people to die
from a drug the Defendant Raymond V. Gilmartin and Richard T. Clerk
knew before it came out of the lavatory, during the time it was in studies,
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when it went to market and how it went and all the damages it was doing
for 5 years.
Defendant Raymond V. Gilmartin and Richard T. Clerk did a predicated

act and it was NO MISTAKE.

Plaintiff, Joan M. Petty, a Vioxx Survivor took the Pain Killer from 1999
till 2004, when it was called from the Market.

I suffered my first heart attack in 1999 after taking Vioxx. My condition
continued to worsen over the years and my health and body was being
poisoned. I had open-heart surgery in 2002 and as the records will show
there was extensive damage to my body and heart. I suffered a mild
stroke in 2004 and blood clots in the heart in 2004 prior vioxx being
removed. I was not aware that it was causing the damage until I stopped
taking it in 2004. Since then I have got part of my life back and only
survive by taking the remedies on a daily bases. Prior to taking Vioxx in
1999 I had NO History of Heart disease or any serious illnesses.

Many people have had the same effects that I have and many died
because of this Pain Killer, Those who died can never tell what happened
to them and only their love ones can speak to the courts with a wrongful
death suit. °

I have the ability to tell what happened to me and when and why. I was
seriously injured and my primary physician and my heart physician did
not know what was going on at the time. My records will prove with out a
doubt that I was taking Vioxx and that was the cause of all my problems.
I have a very different case, since I died on the operating table and was
on a heart machine for 3 days and 3 nights, my family did not know if I
would make it back or not. I was in the hospital for 8 weeks and the most
unlikely person to ever have a heart attack. I am not over weight, I
walked and rode bicycle. I was very active and watched my diet, I took
care of my ill husband who had a heart condition and was well aware of
how to care for myself. I worked at the hospital for 4 years and had just
retired and my life and body is damaged.

Merck is not immune to prosecution because the FDA approved them to
sell the Pain Killer Vioxx. There have not been any charges filed from any
Government agency on any of the Merck Corporation, Directors for the
Fraud, conspiracy Neglect and death and life threatening injuries that
Merck and Company caused for 5 years. This was not a mistake but it
was Profit over the People.

Plaintiff, Joan M Petty prays that the Court will grant this Motion to

Amend and Strike John Doe for the purpose of joining other Defendants
for their part in the Conspiracy to Fraud and Injury.

Submitted by: horn mn ah Date: fal 4-07
Jaan M. Petty, Pro se Litigant

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SUMMARY
RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT

ALSO KNOW AS RICO ACT and is a United States Federal Law that provides for
extended penalties for Criminal acts performed as par of an ongoing criminal
organization. RICO is defined by sections 901 a of the Organized Crime Control Act of
1970 Re: to EXHIBIT ATTACHED C .

In the last decade a world renown corporation has hidden behind a veil of respectability,
relying on it’s erstwhile legitimacy.

As.an international company it has earned itself mega money. It advertised mightily to
the general public and to doctors in particular the non narcotic pain reliever that after five
years of fantastic profitability, the corporation recalled from the market. The recall
occurred immediately after one of the food and Drug Administration’s own took his weli
known findings to a conference in France and told them what he was not permitted to tell
Americans. He made the case against the use of this prescription pain killer. His name is
Dr. Graham. His testimony before the U.S. Congress in 2005 is attached. EXHIBIT D. .
At first, when those harmed or the families of the deceased went to court it was believed
it took almost eighteen months of use to sustain an attributable heart attack or stroke.
Now it is accepted that even two weeks of use has been deadly.

To be a racketeer by defination means to operate dishonestly which is to say fraudulently
or insincerely. This corporation showed the consuming public NO MERCY. The
ACTIVE INGREDIENT, A Cox 2 inhibitor, revealed itself to be toxic in the quantity
this medication contained, ALWAYS. Those whose responsibility remained to the

bottom line refused to be deterred at all crucial tuning points to protect the public.
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The drug, a very costly drug to the consumer, sold for years without any warning label
relating to cardiovascular compromised or stroke implications, Study after study from the
laboratory to the FDA approval erroneously presented a borderline acceptability or
proved the risk, it is now shown.

A documented time line of facts reveals MERCK, the manufacturers of this product, at
the legel we name as defendants, did willfully fraudulently and/or insincerely advertise

and sell VIOXX.

Submitted by: Snore Va fol Date. 9% -~/¥°67

AFFIDAVIT
State of Florida)
County of Highlands)

Fok. Pract
I, Joan Petty, being first duly sworn under oath, state that I know the contents of
this affidavit and that the information contained in this affidavit is true and to the
best of my knowledge and belief.

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Joan M. Petty, Plaintiff
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SUBSCRIBED, A

Notary Public \

 
